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                              EXHIBIT 18
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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

CUTBERTO VIRAMONTES, et al.,                        )
                                                    )
                    Plaintiffs,                     )       No. 21 CV 4595
                                                    )
           v.                                       )       Judge Rebecca R. Pallmeyer
                                                    )       Magistrate Judge Susan E. Cox
THE COUNTY OF COOK, et al.,                         )
                                                    )
                    Defendants.                     )

                EXPERT REPORT AND DECLARATION BY DR. DIANA PALMER

I, Diana Palmer, declare:

This report is based on my own personal knowledge and research. All opinions contained herein

are made pursuant to a reasonable degree of professional and scientific certainty. If I am called as

a witness, I could and would testify competently to the truth of the matters discussed in this

declaration.

Background and Qualifications:

       1. I am currently a licensed mental health provider, a clinical supervisor, a City Council

           Member, and a part time lecturer in the Doctor of Law and Policy Program at

           Northeastern University.

       2. I hold a BA in Psychology, an MS in Counseling, and a Doctorate in Law and Policy. My

           Doctoral Dissertation studied the chilling effect of open carry on First Amendment

           expression at public protests. My dissertation was accepted by Northeastern University

           on May 28, 2021. The dissertation can be found on ProQuest and was featured in articles

           that I co-authored for the Atlantic. 1


1
    (Palmer & Zick, 2021)

                                                        1

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       3. I have published five articles as author or co-author in the last ten years. A list of these

           articles is included in the appendix to this report.

       4. I have not testified as an expert witness in court or in a deposition in any case in the last

           four years.

       5. I was compensated at the rate of $350/hour to prepare this report.

Background and Opinion:

           When I was a doctoral student at Northeastern University, I was trying to understand the

       convoluted patchwork of laws that relate to armed protests. In reading law review articles 2, I

       came across the idea that firearms may cause a chilling effect of First Amendment expression

       at armed protests. I searched through the empirical literature and could not find any studies

       that had examined this theory. I decided to study this gap in the literature as the focus of my

       doctoral dissertation. After completing my research, I found that participants in my study

       would be less likely to engage in expressive behaviors when they knew firearms would be

       present at public protests. 3 Based on this finding, it is my opinion that the presence of

       firearms at public protests would have a chilling effect on First Amendment expression for

       protest participants.

Study Summary:

           In this mixed-methods study, 1,205 participants responded to a survey about their

behavior at protests. The quantitative survey was administered to two groups, a control group

and an experimental group. The survey posed questions about protest behavior and demographic




2
    (Magarian, 2020; Zick, 2018)
3
    (Palmer, 2021)

                                                      2

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questions to both groups. The questions in the quantitative survey administered to the

experimental group mentioned firearms, and the questions to the control group did not. For

example, in the question about likeliness to attend a protest, the control group question read: “If

there was a protest scheduled in your area on a topic you care about, how likely would you be to

attend? (Please check one).” The corresponding question for the experimental group read: “If

there was a protest scheduled in your area on a topic you care about and you knew some of the

protest participants would be carrying firearms, how likely would you be to attend? (Please

check one).” The presence of firearms in the questions was the independent variable. The four

dependent variables (i.e., attending a protest, carrying a sign at a protest, vocalizing views at a

protest, and bringing children to a protest) were compared between groups to determine if the

presence of firearms in the questions made a statistically significant difference on participant

responses. After answering each of the four questions related to the four dependent variables,

participants were asked to respond to the following open-ended prompt: “Please use this space to

describe the factors that you considered in selecting your answer to this question.” This portion

of the survey is referred to as the qualitative portion.

Findings:

         A statistically significant difference existed between groups for all four of the study’s

dependent variables. In the experimental group (i.e., where firearms were mentioned),

participants were much less likely to engage in all expressive behaviors. This was true across all

areas of the political spectrum, and it was also true for both gun owners and those who did not

own guns. This was true across all regions of the country, with participants living in rural areas

indicating they would be slightly more likely to participate in protests than those in nonrural

areas.


                                                   3

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       Qualitative findings were utilized to describe and explain the quantitative results. The

control group produced four themes: feelings of ambivalence, demonstrating caring, concerns

about safety, and wanting to be heard. The experimental group also produced four themes:

feelings of fear, positivity about armed protests, concerns about safety, and potential for

violence. Two interesting demographic findings were highlighted. The first was that both gun

owners and non-gun-owners expressed concerns about attending an armed protest. Both groups

described ways that guns could lead to harm or violence in a protest situation. The other was that

political polarization was present in the survey responses explaining participants’ mistrust of

others with guns, but participants from all parts of the political spectrum shared the belief that

firearms were dangerous at protests.

Group Differences for Dependent Variables
Attend a Protest




       Carry a Sign




                                                  4

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                                       5

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     Vocalize Views




     Bring Children




                                       6

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Conclusions

The study produced the following six conclusions.

       1. Based on the study’s finding that participants were less likely to attend, carry a sign, or

           vocalize views at a protest when firearms were mentioned, it was concluded that the

           presence of firearms at a protest would chill First Amendment expression for study

           participants. This is the study’s strongest conclusion based on statistically significant

           results for the impact of the independent variable (i.e., the presence of firearms) on all

           four dependent variables that measured First Amendment behavior at protests.

           Participants in the experimental group were less likely to attend a protest (F(1,1203) =
                                2                                                             2
           63.42, p < .001, R = 0.05), carry a sign at a protest (F(1,203) = 29.66, p < .001, R = 0.02),
                                                                               2
           vocalize their views at a protest (F(1,203) = 48.80, p < .001, R = 0.04), or bring children to
                                                    2
           a protest (F(1,789) = 5.79, p = .016, R = 0.01) when they expected some protest

           participants would be carrying firearms.



           This unequivocally answers the study’s first research question for study participants: Do

           firearms at public protests have a chilling effect on protestors’ projected expression of

           their First Amendment rights? This information has been missing from the literature;

           however, it is consistent with APA (2019) 4 findings that indicated 79% of Americans say

           they experience stress because of the possibility of a mass shooting; 53% report fearing

           guns in public places, and 33% report that their fear prevents them from going to certain

           places or events.




4
    ("Fear of mass shootings prevents some from going certain places," 2019)

                                                          7

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          This research lays a foundation for empirical evidence that legal scholars have identified

          as missing and vital to interpreting laws related to armed protests. This study involved

          both quantitative and qualitative analysis, and a chilling effect was identified

          quantitatively and the psychological and physical impacts that Zick (2018) mentioned

          were studied qualitatively by examining protest participants’ responses to open-ended

          survey questions.



      2. Based on the finding that protest participants in the experimental group used language

          about fearing being a target while carrying a sign and fearing getting harmed for

          expressing their ideas, the following conclusion was drawn: Study participants perceived

          that firearms at a protest would be used to intimidate or threaten them if the people with

          the firearms did not agree with their point of view. This finding is consistent with data

          from Everytown for Gun Safety and the Armed Conflict Location & Event Data Project

          (ACLED) 5, who identified that one in six armed protests that took place from January

          2020 through June 2021 turned violent or destructive, and one in 62 turned deadly. It is

          also reflective of legal scholarship that has suggested a chilling effect.

          Law clerk, DeBoer (2018) 6 asserted:

                   A significant reason why legislation in this area is so vital is because of the fear

                   that these protests engender: Protesters may lawfully express their anger and

                   contempt toward a group of people or an ideology, but it becomes a very real




5
    https://acleddata.com/2020/09/03/demonstrations-political-violence-in-america-new-data-for-summer-2020/
6
    (DeBoer, 2018)


                                                       8

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                     threat of violence when those messages are coupled with firearms on display. (p.

                     11)

           DeBoer’s (2018) contention is consistent with language that participants in my study used

           to describe their reluctance to participate in armed protests. Qualitative findings indicated

           that participants feared that carrying a sign could make them a target if armed protestors

           did not like their sign’s message. Participants also feared that vocalizing their views

           could be dangerous if the armed protestors did not share their viewpoint. Others feared

           that even attending an armed protest could lead to getting shot either intentionally or

           accidentally (e.g., getting caught in crossfire or getting hit by a stray bullet). Participants

           also expressed a belief that armed protestors would target other protestors who expressed

           ideas they did not like or who appeared aligned with others expressing ideas they did not

           like.

           The literature on firearms in classrooms also showed that the presence of firearms would

           Intimidate people from expressing controversial ideas. In one qualitative study,

           researchers found that instructors on campus identified a chilling effect when students

           were armed “not necessarily due to any overt action on the student’s part, but as a result

           of instructors’ perceptions of the aggressive potential of the student due to campus carry”
           7
               . Similarly, participants’ perceptions of armed protestors in my study conveyed a fear of

           potential violence when other protestors were armed. This fear translated into responses

           that conveyed worry over intimidation and perceived threats that hindered their

           willingness to express themselves if other protestors were armed.




7
    (Jones & Horan, 2019)

                                                       9

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       3. Based on the finding that mistrust of others was a theme in the experimental group and

           that both gun owners and non-gun-owners described guns as dangerous at protests, the

           following conclusion was drawn: Even participants who believed they were responsible

           gun owners did not trust other people with guns in a protest environment. In studies about

           guns on campus, researchers used quantitative survey analysis to study the potential

           consequences of legalizing guns on campus. 8 As expected, students who did not own

           guns reported that guns would negatively affect classroom debate and decrease feelings

           of safety. Surprisingly, even participants who reported owning guns for protection

           responded that guns on campus would harm classroom debate and the learning

           environment and would decrease feelings of safety during heated exchanges and when

           evaluating students who carry a gun.



           Consistent with the research about gun owners on campus, qualitative findings from my

           study indicated that mistrust of others was a theme in the experimental group (i.e., where

           firearms are mentioned) and that both gun owners and non-gun-owners perceived

           firearms to be dangerous at protests. There was a quantitative difference between gun

           owners and non-gun-owners. Non-gun-owners were “unlikely” or “very unlikely” to

           participate, and gun owners were between “unlikely” and “neither unlikely nor likely,”

           but neither group was “likely” or “very likely” to participate in a protest when firearms

           were present. The opened-ended responses of both gun owners and non-gun-owners

           included concerns that guns would be dangerous in a protest environment where

           emotions may be heated. Across all three levels of gun ownership (i.e., gun owner, non-



8
    (Shepperd et al., 2018)

                                                   10

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     gun-owner, and guns in the house), participants shared the sentiment that guns in the

     hands of other protestors would lead to safety concerns, trouble, or violence.

     This is an interesting finding because it suggests even people who support the right to

     own guns do not perceive guns to be safe at protests. They trust that they are responsible

     gun owners but do not trust that everyone else will be responsible in a protest

     environment. Although the data in this study indicate non-gun-owners are more unlikely

     to participate in a protest with guns, neither gun owners nor non-gun-owners were likely

     to participate when guns were present. The data indicate that on the narrow issue of guns

     at protests, gun regulations may not be as polarizing as expected.



     Based on the finding that mistrust of others was a theme in the experimental group and

     that participants across the political spectrum were less likely to protest when firearms

     were present, the following conclusion was drawn: Participants were politically polarized

     over who they believed would perpetrate violence with firearms at a protest, but they

     were not divided that firearms at a protest would lead to violence.

  4. Based on the differences in the way participants in the control group and the experimental

     group described reasons for bringing children to protests (i.e., control participants

     described wanting to teach children about democracy and fighting for rights,

     experimental group participants did not) and based on the fact that participants in the

     experimental group were less likely to bring children when firearms were present, the

     following conclusion was drawn: When participants believed firearms might be present at

     protests, they were less likely to use the protest to teach their children about civic issues,

     and participants without childcare were less likely to attend. Although participants in



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     both the control group (i.e., no firearms mentioned) and the experimental group (i.e.,

     firearms mentioned) expressed hesitation about bringing children to protests, a

     statistically significant difference still existed between the groups. Participants were less

     likely to bring children to an armed protest. This finding is intuitive; however, the

     qualitative analysis revealed an interesting difference between groups in the way people

     explained their responses. In the control group, participants described wanting to teach

     their children how to fight for their rights or how to participate in civic responsibilities. In

     the experimental group, most participants only focused on the danger and potential for

     violence.

  5. Another factor revealed in the participants’ responses was the correlation between

     participants’ belief that a protest was too dangerous to bring children and their

     unwillingness to attend themselves because they did not want to get hurt and be unable to

     care for their children or because childcare would be an issue. For example, an

     experimental group participant stated, “I’ve got kids to raise and a job. Not willing to die

     for a politics ideology.” This may indicate a stronger chilling effect for participants who

     are parents with children in the home than for participants who are not parents or who

     have adult children.

  6. Based on the finding that participants in the control group wrote about choosing to

     participate in protests to be heard, influence others, support a cause, participate in a civic

     duty, and effect change, and participants in the experimental group were much less likely

     to attend for the same reasons, the following conclusion was drawn: When participants

     believed firearms would be present at protests, they did not believe they would be able to

     make a difference, or they did not believe that making a difference was worth the risk



                                               12

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     they perceived the firearms posed. In the control group (i.e., no firearms mentioned),

     participants wanted to be heard, participate in what they saw as a civic duty, support

     causes they believed in, influence others, and create change. The participants who wrote

     about these ideas used passionate language to describe their likeliness to participate in

     protests. Sample responses include the following:

         •   “Just the fact that it is a topic I care about would make me likely to attend because

             if you want to see a change you have to go fight for it.”

         •   “I will join because I want to express part of my fundamental human right to exact

             pressure on the government to adjust and change things.”

         •   “My local government lawmakers need to see why I matter and why I feel

             passionately about this cause. I will demonstrate till the right changes are made.”

         •   “I really care about the state of the country,” and “If I'm passionate about the

             topic, I want to voice my opinion.”

         •   If I cared about a topic I would most likely go to a protest because I am a

             passionate person, and if I truly think something is wrong, I will try and fight it.

             Also, protests are only as strong as the amount of people, so I would feel

             obligated to attend.

  7. Some control group participants mentioned safety concerns like getting into trouble,

     danger from protests getting out of hand, and concerns about COVID-19. However, these

     concerns led them to express ambivalence about attending. They wrote that their safety

     concerns would cause hesitation, but they may still attend because of their desire to make

     a difference.




                                               13

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      8. In the experimental group (i.e., firearms mentioned), few participants wrote passionately

          about wanting to be heard or making a difference. However, these participants did use

          vivid language to describe their fears about violence or bloodshed. Participants described

          the danger they associated with a confrontational environment where firearms were

          present. One explained: “People sometimes become volatile during a protest. It is never a

          good thing to combine heightened frustration and a firearm. “Another wrote: “There’s a

          chance that the firearm protest may result in undesired confrontation. Fear is a motivator

          to avoid going. Dying is also another issue.” These participants also worried about

          expressing their ideas and getting physically harmed as a result:

      •   “I really don’t want to get shot for expressing my opinions.”

      •   “I would not carry a sign with my opinions because I would fear that I would offend

          someone, and it might lead to a violent confrontation.”

      •   “I’m not going anywhere where guns and emotions are.”

      •   “I do not want to offend someone and get shot.”

      •   “I would feel intimidated and as if I shouldn't provoke those carrying firearms even

          though I have a right to express myself.”

      9. This interesting contrast fits with the literature about perception and behavior from

          sociology and psychology. In the Thomas theorem, Thomas and Thomas 9 stated: “When

          [people] define situations as real, they are real in their consequences.” Participants in the

          experimental group defined participating in armed protests to be dangerous, even life-

          threatening, and their fear guided their behavior. In psychology, Maslow’s hierarchy of




9
    (Thomas, 1932)

                                                    14

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           needs 10 illustrates that people must meet their primary needs before they can reach their

           higher potential. For example, if someone is starving, they will eat out of a trashcan even

           though it may not be safe. Safety needs have a lesser priority than physiological needs.

           Similarly, safety comes before belonging, esteem, and self-actualization. It makes sense

           that the participants in the experimental group would not be focused on supporting an

           issue in their community and participating in a civic duty (i.e., belonging), fighting for

           their beliefs (i.e., esteem), or using their talents to make a difference (i.e., self-

           actualization). They could not focus on these needs because they were too concerned with

           their need for safety.

           This background from sociology and psychology provides an important lens through

           which to view this research. This study was focused on perception, and the findings

           suggest that the perception that armed protestors pose a danger is real for participants,

           whether an armed protestor intends to cause harm or not. This fear expressed by the

           experimental group participants supersedes the higher calling to fight for change or make

           a difference that appeared in the control group’s responses because safety is a basic need

           that must be met before people can focus on a higher calling. This suggests the mere

           presence of firearms in an arena where people stand up for their beliefs could force other

           protesters to stay home, capitulating their ideals in a trade for personal safety or freedom

           from fear of harm.

Conclusion

           Many people who bring firearms to protests may say they only intend to display what

they believe is a symbol of freedom or protection and do not intend to intimidate others. But



10
     (McLeod, 2007)

                                                      15

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classic concepts from law, sociology, and psychology have shown that how an audience

perceives a message—not what the communicator intends—is what counts in predicting the

audience’s behavior. Consequently, this research shows if a protest participant perceives that

firearms create danger, and a statistically significant amount of the study participants did, then

their perception may lead them to avoid expressive behavior at public protests, whether the

person with the firearm intends to inflict harm or not.



Pursuant to 28 USC §1746. I declare under penalty of perjury that the foregoing is true and correct.



       Executed on September 14, 2022



                                              __________________________

                                              Diana Palmer




                                                 16

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Appendix


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                health care for New Yorkers.

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PROFESSIONAL New York Conference of Mayors (NYCOM), International Honor Society
MEMBERSHIPS of Pi Lambda Theta, Honor Society of Phi Kappa Phi, American Association of Marriage and
            Family Therapists (AAMFT)- Clinical Fellow. Member, NAACP.


VOLUNTEER        Red Cross - Disaster Mental Health Team, The Open-Door Mission - Soup Kitchen
   WORK          Server, Kensington Rd. School PTA - VP 2015-2018, Odyssey of the Mind Coach, St.
                 Mary's - Faith Formation Instructor. NYS Covid Crisis Line volunteer. Organizer of Community Covid
                 Crises Team in Glens Falls, NY. Boston Area Rape Crisis Center Counselor, Director of Peer Advising
                 at Boston University.




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